    Case 1:19-md-02875-RBK-SAK Document 96 Filed 05/06/19 Page 1 of 3 PageID: 879


'
                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY
                                     CAMDEN VICINAGE


        IN RE: VALSARTAN
                                                            IMDL No. 2875
                                                            j
        PRODUCTS LIABILITY LITIGATION                       1   Honorable Robert B. Kugler,
                                                                District Court Judge

        This Document Relates to All Actions                    Honorable Joel Schneider,
                                                                Magistrate Judge



                     CASE MANAGEMENT ORDER NO.         APPROVING    0
                   PLAINTIFFS' AND DEFENDANTS' LEADERSHIP STRUCTURE


              THIS MATTER having come before the Court at a Case Management Conference on

       April 24, 2019, and the Court having considered the submissions of the parties, and having heard

       no objections, and for good cause shown;

              IT IS on this   (, -<"\ day of fa:".'4:)    , 2019;

              ORDERED that Plaintiffs' Leadership Structure is approved as follows:

                  Plaintiffs' Co-Lead Counsel:

                  Ruben Honik, Golomb & Honik, P.C.
                  Daniel Nigh, Levin, Papantonio, Thomas, Mitchell, Rafferty, Proctor, P.A.
                  Adam Slater, Mazie Slater Katz & Freeman, LLC
                  Conlee Whiteley, Kanner & Whiteley, LLC

                  Plaintiffs' Liaison Counsel:
                  Adam Slater, Mazie Slater Katz & Freeman, LLC (to Court, State Courts, and to
                  defense side)
                  David J. Stanoch, Golomb & Honik, P.C. (to plaintiff side)

                  Plaintiffs' Executive Committee:

                  Ruben Honik, Golomb & Honik, P.C.
                  Daniel Nigh, Levin, Papantonio, Thomas, Mitchell, Rafferty, Proctor, P.A.
                                                     '   I


Case 1:19-md-02875-RBK-SAK Document 96 Filed 05/06/19 Page 2 of 3 PageID: 880




           Adam Slater, Mazie Slater Katz & Freeman, LLC
           Conlee Whiteley, Kanner & Whiteley, LLC
           John Davis, Slack Davis Sanger, LLP.
           Marlene Goldenberg, Goldenberg Law
           Behram Parekh, Kirtland & Packard, LLP
           Andres Rivero, Rivero Mestre LLP
           Mikal Watts, Watts, Guerra LLP
           George Williamson, Farr Law Firm
           Brett Vaughn, Hollis Law Firm

           Plaintiffs' Economic Reimbursement PSC:

          Joseph Marchese, Bursor & Fisher, P.A
          Scott Morgan, Morgan Law Firm
          John Sawin, Sawin Law Firm, Ltd.
          Paul Geske, McGuire Law, P.C.
          Stacy A. Burrows, George A. Barton, P.C.
          Stefanie Colella-Walsh, Stark & Stark, P.C.
          Rachel Geman, Lieff, Cabraser, Heinman & Berstein, LLP
          Nicholas A. Migliaccio, Migliaccio & Rathod LLP
          Gregory P. Hansel, Preti Flaherty
          Peter S. St Philip, Lowey Dannenberg

          Plaintiffs' Personal Injury PSC:

          Jeff Gibson, Wagner Reese, LLP
          Rosemarie Bogdan, Martin, Harding & Mazzotti, LLP
          Steve Babin, Babin Law, LLC
          Ashleigh Raso, Meshbesher & Spence
          Samuel Anyan, Jr., The Cochran Firm
          Annesley DeGaris, DeGaris and Rogers, LLC
          Emily Jeffcott, Morgan & Morgan
          Harold McCall, Wayne Wright LLP
          John Boundas, Williams Kherkhcr
          Jessica Perez, Pendley, Baudin & Coffin
          Alyson Oliver, Oliver Laiv Group
          Jon Mann, Pittman, Dutton & Hellums
          David Hobbs, Fleming Nolen Jez, L.L.P.
          Samuel Fisher, Wiggins, Childs, Pantazis, Fisher & Goldfarb, LLC
          Roger Orlando, Orlando Law Firm
          J. Scott Nabers, Nabers Law Firm

          Plaintiffs' PSC Committees:

          Plaintiffs may establish PEC/PSC Committees to focus on particular areas of the
          litigation, including for example the TPP Committee comprised of co-chairs Andres



                                             2
    Case 1:19-md-02875-RBK-SAK Document 96 Filed 05/06/19 Page 3 of 3 PageID: 881


f



                  Rivero, (Rivero Mestre), Gregory Hansel (Preti Flaherty), and Peter St. Phillip (Lowey
                  Dannenberg), and a Discovery Committee, Science Committee, Law and Briefing
                  Committee, Time and Expense Committee, and potentially others.

              ORDERED that Defendants' Leadership Structure is approved as follows:

                  Defendants' Executive Committee:
                  Seth A. Goldberg, Duane Morris LLP
                  Lori G. Cohen, Greenberg Traurig LLP
                  Clem C. Trischler, Pietragallo Gordon Alfano Bosick & Raspanti, LLP
                  Richard W. Smith, Witey Rein LLP

                  Defendants' Liaison Counsel:
                  Seth A Goldberg, Duane Morris LLP
                  Jessica Priselac, Duane Morris LLP

              ORDERED that Defendants may establish additional committees or leadership structures

       to focus on particular areas of the litigation as may be appropriate.




              SO ORDERED this i!__ day of __M
                                            __~ - - - - - - ' 2019.




                                                      HONORABLE ROBERT B. KUGLER
                                                      UNITED ST ATES DISTRICT JUDGE




                                                         3
